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4:17-cv-03877 Kamme 0 vs TAMUS TAN|U

 

Kamme 0 sc}§§‘i§§i§`§?§5;*13€‘?§§5?;?‘§?153
3503 Winding Road FHEU '"
Hearne, Texas 77859 Nnv~;§go?g
979-575-1091, AggieCarpenerMom@gmail.com

sTXcoURT: 4:17-cv-03877 Da"id ~'- Bfad'eb', C-'¢-'ksfco;.';:
UNITED sTATEs DISTRICT coURT \)§Q§ mcp ,J,’, #1

Southern District of Texas 9 ;qo EMOZ 3020 ‘7 \ 24 §'Z_alg 41

CLERK OF COURT
P.O. Box 61010
Houston, Texas 77208

November 13, 2018

To whom it may concern:

1. Why was the Federal Rule for Service by the Marshal for FEE
WAIVER APPROVED plaintiffs not followed in April~May 2018?

2. Why has the MOTION FOR SERVICE gone unanswered since April
2018?

3. When is “140 days” for a pro se defendant?

4. Why have I been denied legal representation?

4. Was caller I.D. the reason it took 22 phone rings for the
Clerk to answer My call?

5. Why have l been hung up on assorted times by Clerks when l

phone to ask the status of My complaint against TAMU & TAMUS?

‘ April 11, 2018 to November 13, 2018 216 calendar days -
excluding weekends & holidays = 149 days. TAMU took 96 days when
the TAMUS policy was “15 working days” in 2015 - before they

changed it to “30 days” August 2015. TAMUS even restructured

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TAMU Human Resources after My employment was terminated during
the EEOC investigation January 29, 2016. l continue to receive
USPS mail addressed as a “Texas A&M University System Employee”.

The attorney l hired in 2015 did not get the TAMU EEOC
Response documents to Me until 10~28-2016, AFTER l wrote and
requested the assistance of My local Congressmen - Bill Flores
office was able to find out the status of My 2015 EEOC complaint
for Me.

This drawn out wait by the Southern District Court of

   
  

Houston seems to b- continuation of the attack of My civil

ease explain/advise?

State of:
County of:

On_lL/lj;/Zz?/€§
Before me,??lM/V L,#f// ,

Personally appeared, #CQ/HZHE, fy ,

[_] Personally known to me'

OR

[\] Proved to me on the basis of satisfactory evidence to be the person whose
name is subscribed to the within instrument and has hereby acknowledged to me
that she authorized capacity, and that by her signature on the instrument the
person or the entity upon behalf of which the person acted, executed the
instrument.

 

'tness my hand and official seal

      

 

   

 

 

 

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Notary ignature z» a, qumhmm&mma
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CERTIFICATE OF SERVICE

l hereby certify that on or before 11-13-2018, Plaintiff emailed
a copy of this 11-13-2018 letter to:

YVONNE D. BENNETT
Yvonne.bennett@texasattorneygeneral.gov
Assistant Attorney General
General Litigation Division
P.O. Box 12548, Capitol Station
Austin, Texas 78711-2548

 

 

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Pro\§§ §iéid§i$£/ Kamme O

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